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     Attorneys for United States of America
14

15                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
16

17
     UNITED STATES OF AMERICA,                  Case No.: 18cr4683-GPC
18
          Plaintiff,
19        v.                                    DEFERRED PROSECUTION
20   PETR PACAS (4),                            AGREEMENT

21        Defendant.

22

23
          IT IS HEREBY AGREED between the plaintiff, UNITED STATES OF
24
     AMERICA, through its counsel, Randy S. Grossman, United States
25
     Attorney, and Assistant United States Attorneys Melanie K. Pierson,
26 Sabrina L. Fève, and Computer Crime and Intellectual Property

27 Section Senior Counsel for the United States Department of Justice

28 Candy Heath (collectively, the “United States”), and Defendant PETR
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 1 PACAS (the “Defendant”), with the advice and consent of Gary S.

 2 Lincenberg, counsel for Defendant, that the parties will enter into
   this deferred prosecution agreement (the “Agreement”).
 3
                                    I.
 4
                                AGREEMENT
 5      A. On October 31, 2018, a federal grand jury in the Southern
 6 District of California filed a ten count indictment in the United

 7 States District Court for the Southern District of California,

 8 charging Defendant and three codefendants with Conspiracy, in
   violation of Title 18, United States Code, Section 371; four counts
 9
   of wire fraud, in violation of Title 18, United States Code, Section
10
   1343; and five counts of electronic mail fraud, in violation of
11 Title 18, United States Code, Section 1037. Except as provided

12 herein,    the    United   States    will   dismiss   the   charges   in   the
13 Indictment, after the period of deferral, provided that Defendant
   has complied with the terms of this Agreement.
14
        B. This Agreement is effective for a period beginning on the
15
   date on which this Agreement is signed by all parties and ending
16
   one year from that date (the “deferral period”), provided that
17 Defendant complies with all the terms and conditions of this

18 Agreement.

19        C. During the deferral period, Defendant shall:

20              1. be supervised by United States Pretrial Services and
                    abide by any terms and conditions of pretrial release
21
                    set by the Court;
22
                2. abide by the terms and conditions of this Agreement;
23
                3. not violate any federal, state, or local criminal laws
24
                    (minor traffic infractions excluded); and
25              4. make a gift or donation of $50,000 to the Crime Victims
26                  Fund, pursuant to Title 34, United States Code, Section
27                  20101(b)(5) and (6). The gift or donation provided for

28                  in this paragraph is not based on, and shall not be


                                          2
     Deferred Prosecution Agreement                        Def. Initials ____
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 1                construed as a penalty for or a loss related to any of

 2                the acts alleged in the Indictment.

 3        D. On or before the last day of the deferral period, if
     Defendant has not been found to be in violation of this Agreement,
 4
     the United States will move to dismiss the Indictment with respect
 5
     to Defendant with prejudice.
 6                                       II
 7              DEFENDANT’S REPRESENTATION THAT PARTICIPATION
                  IN THIS AGREEMENT IS KNOWING AND VOLUNTARY
 8
          Defendant represents that:
 9
          A. Defendant has had a full opportunity to discuss all the
10
     facts and circumstances of this case with defense counsel and has
11
     a clear understanding of the charge and the consequences of this
12 Agreement;

13        B. No one has made any promises or offered any rewards in

14 return for this Agreement, other than those contained in this
   Agreement or otherwise disclosed to the Court;
15
        C. No one has threatened Defendant or Defendant’s family to
16
   induce this Agreement; and
17      D. The disposition contemplated by this agreement is part of
18 a “package” disposition with codefendant(s) Jacob Bychak, Abdul

19 Mohammed Qayyuum, and Mark Manoogian. If any defendant in the

20 package fails to perform or breaches any part of their agreement,
   no defendant can withdraw from their agreement, but the United
21
   States is relieved from and not bound by any terms in any agreements
22
   in the package.
23                                  III
24                       WAIVER OF SPEEDY TRIAL RIGHTS
25        Defendant waives any right to a speedy trial of the offense
     alleged in this case arising under the Constitution or laws of the
26
     United States. Defendant stipulates that the time between the filing
27
     of this Agreement and any re-institution of prosecution of Defendant
28
     as contemplated under this agreement (which must occur within the

                                         3
     Deferred Prosecution Agreement                       Def. Initials ____
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 1 deferral period) shall be excluded from any computations under the

 2 Speedy Trial Act under the provisions of Title 18, United States
   Code, Section 3161(h)(2).
 3
                                   IV
 4
                    WAIVER OF DOUBLE JEOPARDY RIGHTS
 5      Defendant is aware of his right not to be tried twice for the
 6 same offense. Defendant understands that his right to double

 7 jeopardy attached once the jury was sworn. Defendant admits that

 8 the suspension of the trial on the Indictment was beyond the control
   of the defense or the United States, and that this agreement was
 9
   reached after the court suspended the trial, due to the effects of
10
   the pandemic. Defendant agrees that if he violates this Agreement,
11 the United States can proceed to a second trial on the charges in

12 the   instant   Indictment.    Defendant     agrees   to    waive   his   double
13 jeopardy rights.
                                          V
14
                      WAIVER OF APPEAL AND COLLATERAL ATTACK
15
          Defendant    waives   (gives   up)   all   rights   to   appeal    and   to
16
     collaterally attack all prior rulings of the Court in this case.
17 This waiver includes, but is not limited to, any argument that

18 Defendant’s prosecution is unconstitutional. The only exception is

19 that Defendant may collaterally attack such rulings with a claim
   that Defendant received ineffective assistance of counsel. If
20
   Defendant files an appeal or collaterally attacks, the United States
21
   may support the rulings of the Court.
22                                  VI
23                           BREACH OF THE AGREEMENT
24        If the United States determines in good faith that Defendant

25 has violated or failed to perform any of Defendant’s obligations
   under this Agreement, such violation or failure to perform may
26
   constitute a material breach of this Agreement. If Defendant
27
   contests the United States’ determination that Defendant has
28 breached the Agreement, Defendant may seek a determination by the

                                          4
     Deferred Prosecution Agreement                           Def. Initials ____
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 1 Court as to whether a material breach has occurred. The Court will

 2 determine, by a preponderance of the evidence, whether such a
   material breach occurred.
 3
        The following non-exhaustive list of conduct by Defendant
 4
   unquestionably constitutes a material breach of this deferred
 5
   prosecution agreement: (1) violating any federal, state, or local
 6 criminal law (minor traffic infractions excluded); (2) failing to

 7 abide by any lawful court order related to this case; (3) violating

 8 any terms of pretrial release or of this agreement.
        In the event of Defendant’s material breach of this Agreement,
 9
   Defendant shall be subject to prosecution for any federal criminal
10
   violation described in the Indictment. The statute of limitations
11 with respect to any such prosecution shall be tolled from the

12 signing of this Agreement to the date the breach is determined.

13                                      VII

14               AGREEMENT LIMITED TO U.S. ATTORNEY’S OFFICE
                       SOUTHERN DISTRICT OF CALIFORNIA
15
          This Agreement is limited to the United States Attorney’s
16
     Office for the Southern District of California, and cannot bind any
17 other federal, state, or local prosecuting, administrative, or

18 regulatory authorities, although the United States will bring this

19 Agreement to the attention of other authorities if requested by
   Defendant.
20
                                  VIII
21
                            ENTIRE AGREEMENT
22
        This Agreement embodies the entire agreement between the
23 parties and supersedes any other agreement, written or oral.

24                                       IX

25              MODIFICATION OF AGREEMENT MUST BE IN WRITING
          No modification of this Agreement shall be effective unless in
26
     writing and signed by all parties.
27

28

                                         5
     Deferred Prosecution Agreement                       Def. Initials ____
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 1                                       X

 2                     DEFENDANT SATISFIED WITH COUNSEL
          Defendant has consulted with counsel and is satisfied with
 3
     counsel’s representation. This is Defendant’s independent opinion,
 4
     and his counsel did not advise him about what to say in this regard.
 5

 6

 7 DATED:         7
             June __, 2022            FOR THE UNITED STATES:

 8                                    RANDY S. GROSSMAN
                                      United States Attorney
 9
10
                                      Melanie K. Pierson
11                                    Assistant United States Attorney

12
                                      Sabrina L. Fève
13                                    Assistant United States Attorney
14

15                                    Candy Heath
                                      Senior Counsel
16                                    Computer Crime and Intellectual
                                      Property Section
17
     FOR DEFENDANT:
18
    6/7/2022
19 _________________                  ______________________
   DATED                              GARY S. LINCENBERG
20                                    Defense Counsel

21 _________________
   6/7/2022                           _______________________
   DATED                              PETR PACAS
22                                    Defendant
23

24

25

26

27

28

                                         6
     Deferred Prosecution Agreement                       Def. Initials ____
